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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              )
                                                       )               8:05CR257
                       Plaintiff,                      )
                                                       )
         vs.                                           )               ORDER
                                                       )
AMANDA NIELSON,                                        )
                                                       )
                       Defendant.                      )
         This matter is before the court on the motion for an extension of time by defendant Amanda
Nielson (Nielson) (Filing No. 22). Nielson seeks an extension of time for approximately thirty days
in which to file pretrial motions pursuant to paragraph 3 of the progression order (Filing No. 10).
Nielson has submitted an affidavit in accordance with paragraph 9 of the progression order whereby
Nielson consents to the motion and acknowledges she understands the additional time may be
excludable time for the purposes of the Speedy Trial Act. Upon consideration, the motion will be
granted.


         IT IS ORDERED:

         1.     Defendant Nielson’s motion for an extension of time (Filing No. 22) is granted.
Defendant Nielson is given until on or before August 19, 2005, in which to file pretrial motions
pursuant to the progression order (Filing No. 10). The ends of justice have been served by granting
such motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between July 21, 2005
and August 19, 2005, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B).
         2.     The tentative setting of an evidentiary hearing for 9:00 a.m. on July 28, 2005, is
canceled and will be re-scheduled in the event any pretrial motions are filed in accordance with this
order.
         DATED this 21st day of July, 2005.
                                                       BY THE COURT:
                                                       s/Thomas D. Thalken
                                                       United States Magistrate Judge
